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                                                                                 2019 Feb-28 PM 02:19
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ALABAMA
                               NORTHWESTERN DIVISION
YVONNE MOTE as the personal                    )
representative of the estate of Shane          )
Watkins                                        )
                                               )
         Plaintiff,                            )   Case No.: 3:17-cv-0406-LCB
                                               )
v.                                             )
                                               )
STEVEN MOODY and GENE                          )
MITCHELL

         Defendants.

                               MEMORANDUM OPINION

         Plaintiff Yvonne Mote, as the personal representative of the estate of Shane

Watkins 1, brings this action under Title II of the Americans with Disabilities Act

(“ADA”) and § 504 of the Rehabilitation Act, against Sheriff Gene Mitchell in his

official capacity as the Sheriff of Lawrence County, Alabama. Mote also brings an

excessive-force claim under 42 U.S.C. § 1983, against Deputy Sheriff Steven

Moody in his individual capacity.            Before the Court is Defendant Mitchell’s

motion for summary judgment as to all claims asserted against him. (Doc. 27).

The motion has been fully briefed by all parties. Mitchell argues that he is entitled

to Eleventh Amendment immunity and, alternatively, that the undisputed facts do

not support a claim under either the ADA or the Rehabilitation Act. For the

1
    Yvonne Mote is Shane Watkins’s sister.
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reasons that follow, the Court finds that Mitchell’s motion for summary judgment

is due to be GRANTED.

I. Summary Judgment Standard

      “The court shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” FED. R. CIV. P. 56(a). To demonstrate that there is a genuine

dispute as to a material fact that precludes summary judgment, a party opposing a

motion for summary judgment must cite “to particular parts of materials in the

record, including depositions, documents, electronically stored information,

affidavits or declarations, stipulations (including those made for purposes of the

motion only), admissions, interrogatory answers, or other materials.” FED. R. CIV.

P. 56(c)(1)(A). “The court need consider only the cited materials, but it may

consider other materials in the record.” FED. R. CIV. P. 56(c)(3).

      When considering a summary judgment motion, the Court must view the

evidence in the record in the light most favorable to the non-moving party and

draw reasonable inferences in favor of the non-moving party. White v. Beltram

Edge Tool Supply, Inc., 789 F.3d 1188, 1191 (11th Cir. 2015). “[A]t the summary

judgment stage[,] the judge’s function is not himself to weigh the evidence and

determine the truth of the matter but to determine whether there is a genuine issue

for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). “‘Genuine


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disputes [of material fact] are those in which the evidence is such that a reasonable

jury could return a verdict for the non-movant. For factual issues to be considered

genuine, they must have a real basis in the record.’” Evans v. Books-A-Million,

762 F.3d 1288, 1294 (11th Cir. 2014) (quoting Mize v. Jefferson City Bd. of Educ.,

93 F.3d 739, 742 (11th Cir. 1996)). “A litigant’s self-serving statements based on

personal knowledge or observation can defeat summary judgment.” United States

v. Stein, 881 F.3d 853, 857 (11th Cir. 2018); see Feliciano v. City of Miami Beach,

707 F.3d 1244, 1253 (11th Cir. 2013) (“To be sure, Feliciano’s sworn statements

are self-serving, but that alone does not permit us to disregard them at the summary

judgment stage.”). Even if the Court doubts the veracity of the evidence, the Court

cannot make credibility determinations of the evidence. Feliciano, 707 F.3d at

1252 (citing Anderson, 477 U.S. at 255). However, conclusory statements in a

declaration cannot by themselves create a genuine issue of material fact. See Stein,

881 F.3d at 857 (citing Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 888 (1990)).

      In sum, the standard for granting summary judgment mirrors the standard for

a directed verdict. Anderson, 477 U.S. at 250 (citing Brady v. Southern R. Co., 320

U.S. 476, 479–480 (1943)). The district court may grant summary judgment when,

“under governing law, there can be but one reasonable conclusion as to the

verdict.” Id. at 250. “[T]here is no issue for trial unless there is sufficient evidence

favoring the nonmoving party . . . . If the evidence is merely colorable, or is not


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significantly probative, summary judgment may be granted.”                        Id. at 249–50

(internal citations omitted).

II. Statement of Facts

    A. Background

       It is undisputed that Shane Watkins was shot and killed by Deputy Steven

Moody of the Lawrence County Sheriff’s Department. The plaintiff alleges that

Watkins had multiple psychiatric diagnoses, including schizophrenia, and that he

was in a mental health crisis prior to and at the time of the shooting. On the

morning of March 19, 2015, Shane Watkins’s mother, Maudie Watkins, called 911

after Mr. Watkins, armed with a box cutter 2, threatened to commit suicide and kill

the family dog. (Watkins’s deposition, at 45). It is also undisputed that Mr.

Watkins maintained possession of the box cutter throughout the duration of the

incident. Deputy Moody was the first officer to respond to the Watkins’ residence

and was aware that Mr. Watkins had threatened to commit suicide and that, at

some point, had been armed with a knife or box cutter. Shortly after he arrived,

Deputy Moody shot Mr. Watkins outside of the house.




2
 At various points in the depositions and pleadings, the parties refer to the object in Watkins’s
hand as both a box cutter and a knife. For clarity, the Court will refer to the object as a box
cutter in this memorandum opinion.
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         The parties’ allegations significantly diverge as to the events that occurred

after Deputy Moody arrived at the scene. 3            According to Deputy Moody, he

received a dispatch requesting assistance with a domestic violence issue in which

weapons were potentially involved. (Moody’s deposition, at 118). After arriving

at the Watkins’ residence, Moody stated that he walked to the door and briefly

spoke with Mr. Watkins in a calm manner. However, Moody stated that Mr.

Watkins then pulled out a box cutter and began yelling, “‘Fuck you. Shoot me,’”

while moving toward him. (Moody’s deposition, p. 65). According to Moody,

Watkins was moving toward him faster than he was able to back pedal away.

(Moody’s deposition, at 35).          After backing up for approximately 40-50 feet,

Moody stated that he shot Watkins at a range of four to eight feet. (Moody’s

deposition, at 39). Moody claimed that he repeatedly told Watkins to drop the box

cutter as he backed away from him. (Moody’s deposition, at 86). Just before

Moody fired his weapon, another deputy, Shannon Holland, arrived on the scene.

According to Moody, Holland also drew his weapon and yelled at Mr. Watkins to

drop the box cutter.

         Ms. Watkins’s version of the events is quite different. According to Ms.

Watkins, Mr. Watkins was standing outside of the house on a concrete parking pad

when Deputy Moody pulled his vehicle into her driveway. Ms. Watkins stated that


3
    Defense counsel did not move for summary judgment as to Deputy Moody.
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Deputy Moody got out of his vehicle with his gun already drawn, moved around to

the front of his vehicle for no reason, and immediately fired four shots at Mr.

Watkins without ever telling him to drop the knife. (Watkins’s deposition, at 48-

49).   According to Ms. Watkins, she begged Moody not to shoot her son.

(Watkins’s deposition, at 49).     Ms. Watkins testified that Moody and another

officer then moved Mr. Watkins’s body from the parking pad so that it would be

closer to Moody’s vehicle.       (Watkins’s deposition, at 70-72).       Ms. Watkins

believes that the officers moved the body to make it look like Mr. Watkins had

charged at Moody.

   B. Undisputed Facts Pertaining to Sheriff Mitchell

       As to Sheriff Mitchell, it is undisputed that he was the Sheriff of Lawrence

County at all times relevant to this case. It is also undisputed that he was not

present at the scene. Mitchell’s only connection to this case arises from his role as

the Lawrence County Sheriff. The allegations against Mitchell revolve around the

plaintiff’s contention that Mitchell refused and/or failed to train his deputies in the

proper handling of the mentally ill. See (Doc. 1, at 6-7)(“Defendant Mitchell also

violated the ADA by failing to train deputies regarding the handling of mentally ill

persons like Watkins.”).       Therefore, the plaintiff says, Mitchell failed to

accommodate Watkins under the ADA and the Rehabilitation Act. The plaintiff




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also claims that Mitchell, through the actions of Deputy Moody and Deputy

Holland, is liable for failing to accommodate Mr. Watkins’s disability.

III. Discussion

      This Court is skeptical of whether the allegations in the present complaint

support a claim under either the ADA or the Rehabilitation Act, and it does not

appear that the Eleventh Circuit has addressed the application of those statutes to a

similar set of facts. As will be discussed below, the plaintiff’s theory of liability as

to Sheriff Mitchell is not entirely clear.      However, the claims against Sheriff

Mitchell can be disposed of without determining whether such claims exist. As set

out below, Sheriff Mitchell is immune under the Eleventh Amendment from the

particular ADA claims raised in this case. As to the Rehabilitation Act claim, there

is no evidence in the record supporting the plaintiff’s allegation that Sheriff

Mitchell failed to train his deputies in handling the mentally ill. The plaintiff’s

failure-to-train allegation underpins her central contention that Mitchell violated

the statutes in question by failing to accommodate Watkins’s disability. Thus,

failing to establish that fact would be fatal to her claims against Mitchell.

   A. ADA Claims

      As noted, the plaintiff alleged that Sheriff Mitchell, in his official capacity,

violated Title II of the Americans with Disabilities Act, 42 U.S.C. § 12131, et seq.

In its motion for summary judgment, the defense generally argued that the


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Eleventh Amendment barred both the ADA claim and the Rehabilitation Act

claim. The plaintiff completely ignored that argument in her response and failed to

provide the Court with anything suggesting that her claims against Sheriff Mitchell

were not barred.

      The Eleventh Amendment to the United States Constitution provides: “The

Judicial Power of the United States shall not be construed to extend to any suit in

law or equity, commenced or prosecuted against one of the United States by

Citizens of another State, or by Citizens or Subjects of any Foreign State.” U.S.

Const. amend. XI. The Amendment not only bars suits against a state by citizens

of another state, but also bars suits against a state initiated by that state's own

citizens. See Edelman v. Jordan, 415 U.S. 651, 663 (1974).

      It is well settled that the Eleventh Amendment also applies in situations in

which an “arm of the State” is sued. See Mt. Healthy City Sch. Dist. Bd. of Educ.

v. Doyle, 429 U.S. 274, 280 (1977)(“The bar of the Eleventh Amendment to suit in

federal courts extends to States and state officials in appropriate circumstances, but

does not extend to counties and similar municipal corporations.”)(Internal citations

omitted). In McMillian v. Monroe Cty., Ala., 520 U.S. 781, 793 (1997), the United

States Supreme Court concluded that “Alabama sheriffs, when executing their law

enforcement duties, represent the State of Alabama, not their counties.” Therefore,




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Sheriff Mitchell is an “arm of the State” and is entitled to Eleventh Amendment

immunity under most circumstances.

      In Fla. Ass'n of Rehab. Facilities, Inc. v. State of Fla. Dep't of Health &

Rehab. Servs., 225 F.3d 1208, 1219–20 (11th Cir. 2000), the Eleventh Circuit

discussed an exception to Eleventh Amendment immunity:

      Under the doctrine of Ex parte Young, 209 U.S. 123, 28 S.Ct. 441, 52
      L.Ed. 714 (1908), there is a long and well-recognized exception to this
      rule for suits against state officers seeking prospective equitable relief
      to end continuing violations of federal law. See Summit Med. Assocs.,
      P.C. v. Pryor, 180 F.3d 1326, 1336–37 (11th Cir.1999)(citing Idaho v.
      Coeur d'Alene Tribe, 521 U.S. 261, 269, 117 S.Ct. 2028, 2034, 138
      L.Ed.2d 438 (1997) (“We do not ... question the continuing validity of
      the Ex parte Young doctrine.”)), cert. denied, 529 U.S. 1012, 120
      S.Ct. 1287, 146 L.Ed.2d 233 (2000). The availability of this doctrine
      turns, in the first place, on whether the plaintiff seeks retrospective or
      prospective relief.
      Ex parte Young has been applied in cases where a violation of federal
      law by a state official is ongoing as opposed to cases in which federal
      law has been violated at one time or over a period of time in the past.
      Thus, Ex parte Young applies to cases in which the relief against the
      state official directly ends the violation of federal law, as opposed to
      cases in which that relief is intended indirectly to encourage
      compliance with federal law through deterrence or simply to
      compensate the victim. “‘Remedies designed to end a continuing
      violation of federal law are necessary to vindicate the federal interest
      in assuring the supremacy of that law. But compensatory or
      deterrence interests are insufficient to overcome the dictates of the
      Eleventh Amendment.’” Summit Med. Assocs., 180 F.3d at 1337
      (quoting Papasan v. Allain, 478 U.S. 265, 277–78, 106 S.Ct. 2932,
      2940, 92 L.Ed.2d 209 (1986)). Therefore, the Eleventh Amendment
      does not generally prohibit suits against state officials in federal court
      seeking only prospective injunctive or declaratory relief, but bars suits
      seeking retrospective relief such as restitution or damages. See Green
      v. Mansour, 474 U.S. 64, 68, 106 S.Ct. 423, 426, 88 L.Ed.2d 371
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      (1985); Sandoval v. Hagan, 197 F.3d 484, 492 (11th Cir.1999)
      (“[I]ndividual suits that seek prospective relief for ongoing violations
      of federal law ... may be levied against state officials.”). If the
      prospective relief sought is “measured in terms of a monetary loss
      resulting from a past breach of a legal duty,” it is the functional
      equivalent of money damages and Ex parte Young does not
      apply. Edelman, 415 U.S. at 669, 94 S.Ct. at 1347.
      In the present case, the plaintiff is not seeking prospective injunctive or

declaratory relief. A review of the complaint reveals that the plaintiff specifically

seeks compensatory damages, pre- and post-judgment interest, court costs,

attorneys’ fees, and expert-witness fees. (Doc. 1, at 7-8). Accordingly, Ex parte

Young does not apply. Therefore, the Eleventh Amendment bars the plaintiff’s

claims against Sheriff Mitchell brought under the Americans with Disabilities Act.

See also Onishea v. Hopper, 171 F. 3d 1289, 1292, 1296 n. 11 (11th Cir.

1999)(finding that the plaintiffs’ requested relief, i.e., that the court “force

integration of recreational, religious, and recreational programs” was “within the

fiction of Ex parte Young …, and that the Eleventh Amendment [was] therefore

not an issue in th[e] case.”); Adkison v. Willis, 214 F. Supp. 3d 1190, 1196, n. 4

(N.D. Ala. 2016)(“Because Mr. Adkison seeks prospective injunctive relief rather

than money damages, the Eleventh Amendment does not bar Mr. Adkison's

claim.”).   Consequently, this Court lacks jurisdiction over the plaintiff’s ADA

claims, and summary judgment is due to be granted.

   B. Rehabilitation Act Claims

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      The Eleventh Amendment, however, does not bar the plaintiff’s claims

under the Rehabilitation Act. 42 U.S.C. § 2000d-7 provides that “[a] State shall

not be immune under the Eleventh Amendment of the Constitution of the United

States from suit in Federal court for a violation of section 504 of the Rehabilitation

Act of 1973, … or the provisions of any other Federal statute prohibiting

discrimination by recipients of Federal financial assistance.” Citing this statute,

the Eleventh Circuit has concluded that states that accept federal funding waive

Eleventh Amendment immunity for Section 504 Rehabilitation Act claims. See

Garrett v. Univ. of Ala. at Birmingham Bd. of Trs., 344 F.3d 1288, 1290–93 (11th

Cir. 2003)(“Section 2000d-7 unambiguously conditions the receipt of federal funds

on a waiver of Eleventh Amendment immunity to claims under section 504 of the

Rehabilitation Act. By continuing to accept federal funds, the state agencies have

waived their immunity.”) The parties in the present case stipulated that “on March

19, 2015, the law enforcement program of Gene Mitchell, in his official capacity as

the Sheriff of Lawrence County, Alabama, was a recipient of federal funds and,

therefore, subject to § 504 of the Rehabilitation Act….” (Doc. 25). Accordingly,

the Court turns now to Sheriff Mitchell’s summary judgment claim as it relates to

the plaintiff’s claims under the Rehabilitation Act.

      In her complaint, the plaintiff alleged that Sheriff Mitchell violated the

Rehabilitation Act “through the actions of [Deputy] Moody and the deputy

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assisting him” by failing to accommodate Watkins. (Doc. 1, at 7). The plaintiff

also alleged that “Mitchell failed to train deputies regarding the handling of

mentally ill persons like Watkins.” Id. In his motion for summary judgment,

Mitchell argues, among other things, that “failure to train” is not a viable claim

under the Rehabilitation Act.     (Doc. 28, at 10). In her response, the plaintiff

“agrees that her failure to train allegations are not properly treated as separate

claims, though they are relevant to the failure to accommodate claims.” (Doc. 31,

at 1). However, on the next page, the plaintiff asserts that her complaint “clearly

asserted two separate bases for her ADA and RA claims: 1) discrimination in the

form of a failure to accommodate and 2) a failure to train.” Id. at 2-3. It is unclear

to this Court exactly what the plaintiff is arguing. As best the Court can determine,

the plaintiff has asserted that Sheriff Mitchell failed to accommodate Watkins’s

disability by allegedly failing to train his deputies in dealing with the mentally ill,

and that Deputy Moody, whose actions she imputes to Sheriff Mitchell, failed to

accommodate Watkins at the scene. This failure, the plaintiff says, constitutes a

violation of the Rehabilitation Act.

      The Rehabilitation Act provides that “[n]o otherwise qualified individual

with a disability ... shall, solely by reason of her or his disability, be excluded from

the participation in, be denied the benefits of, or be subjected to discrimination

under any program or activity receiving Federal financial assistance….” 29 U.S.C.

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§ 794(a). Although it is not entirely clear from her pleadings, the plaintiff’s main

contention4 appears to be that, because of his mental illness, Watkins was denied

the benefits of and/or subjected to discrimination under a program or activity of the

Lawrence County Sheriff’s Department.

       The plaintiff asserted that Deputy Moody was not trained to deal with

mentally ill people and, as a result, failed to accommodate Shane Watkins’s

disability by shooting him. Thus, the apparent accommodation that Moody owed

to Watkins was to refrain from shooting him. But police officers are under a duty

to refrain from unjustifiably shooting anyone, not just the disabled. Accordingly,

the only logical way to interpret the plaintiff’s complaint is that Sheriff Mitchell

violated the Rehabilitation Act by failing to train his deputies to handle mentally ill

persons without resorting to deadly force. Therefore, according to the plaintiff,

Watkins was denied the benefit of, or was subjected to discrimination under a

program that was receiving Federal financial assistance. However, even assuming

that such a claim exists under the Rehabilitation Act, there is no genuine issue of

material fact that would allow it to proceed past summary judgment because the

record is devoid of any evidence that Sheriff Mitchell “failed to train deputies

regarding the handling of mentally ill persons” as alleged in the complaint. (Doc.

1, at 7).
4
 The plaintiff also alleged that Watkins was disabled due to his mental illness. The defendants
do not dispute that Watkins had a disability.
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      In his deposition, Sheriff Mitchell testified that all of his deputies “go

through the A-Post system.” (Mitchell’s deposition, at 12). 5 Subsequently, the

following exchange occurred:

      “[Plaintiff’s counsel]: [I]s there any kind of training that tells officers
      how to handle -- for example, to de-escalate a situation with a
      mentally ill person to avoid having to kill them?
      “[Sheriff Mitchell]: We – we have that often, not necessarily just for
      mental health –
      “[Plaintiff’s counsel]: Where is that?
      “[Sheriff Mitchell]: That’s a daily occurrence that happens out – it’s
      ongoing.
      “[Plaintiff’s counsel]: Well, where is the training? Where is it?
      “[Sheriff Mitchell]: Well, where was the training that they’ve all had?
      “[Plaintiff’s counsel]: What are you talking about?
      “[Sheriff Mitchell]: It’s in the training they’ve already had. It’s in A-
      Post. It’s in schools we send them to.”
(Mitchell’s deposition, at 35-36). The plaintiff then goes on to ask whether Sheriff

Mitchell conducts additional training at his department that specifically focuses on

handling the mentally ill.     Sheriff Mitchell readily admits that he has never

provided additional training beyond what his deputies receive at APOSTC.

However, the fact remains that Mitchell did ensure that his deputies had training in

dealing with the mentally ill. Thus, the plaintiff’s allegation that Sheriff Mitchell



5
 “APOST” or “APOSTC” is an acronym for the Alabama Peace Officers Standard and Training
Commission course. (Doc. 17-5, p. 10)
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“failed to rain deputies regarding the handling of mentally ill persons” is without

support in the record.

      Deputy Moody also testified that he received training in dealing with the

mentally ill when he attended APOSTC.           (Moody’s deposition, at 113-14.)

According to the plaintiff’s own expert’s report, Deputy Moody “[c]ompleted the

State of Alabama Peace Officers Standard and Training Commission (‘APOSTC’)

course of instruction to become a certified law enforcement officer in March

2009…” (Doc. 17-5, p. 10). The plaintiff’s expert also noted that, “[a]ccording to

the current APOSTC requirements, recruit officers receive four hours of training in

the topic entitled, ‘Handling the Emotionally Disturbed.’” (Doc. 17-5, p. 10). The

record lacks any evidence suggesting that Sheriff Mitchell completely failed to

ensure that his deputies were trained in handling the mentally ill. The plaintiff, as

well as her expert witnesses, suggests that Sheriff Mitchell could have done more

in the way of training his deputies to interact with mentally ill citizens. However,

nothing in the record disputes the fact that Mitchell’s deputies, including Moody,

received training as to the handling of mentally ill individuals. Accordingly, the

crux of the plaintiff’s Rehabilitation Act claim, i.e., that Sheriff Mitchell

completely failed to train his deputies to deal with the mentally ill, lacks any

evidentiary basis. This Court notes that the same defect would be fatal to the

plaintiff’s ADA claim had it not been barred by the Eleventh Amendment.

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      Viewing all of the evidence in the light most favorable to the plaintiff, as this

Court is required to do, there is nothing to suggest that Sheriff Mitchell failed to

train his deputies as alleged in the complaint. Under the plaintiff’s theory of the

case, that failure would be an essential element to establish entitlement to relief.

Accordingly, there is no material issue of fact to be determined at a trial regarding

the clams against Sheriff Mitchell, and there would be only one reasonable

conclusion as to the verdict: that Sheriff Mitchell did not violate the Rehabilitation

Act. Therefore, Sheriff Mitchell is entitled to summary judgment on that claim.

      For the foregoing reasons, summary judgment is due to be GRANTED in

favor of Sheriff Gene Mitchell.

      DONE and ORDERED this February 28, 2019.



                                    _________________________________
                                    LILES C. BURKE
                                    UNITED STATES DISTRICT JUDGE




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